                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA



UNITED STATES OF AMERICA                              )
                                                      )       Case No. 1-09-CR-142
                                                      )
v.                                                    )
                                                      )       COLLIER / LEE
VINCENT HAWKINS                                       )
                                                      )


                                            ORDER


       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the three-count

Indictment (2) accept Defendant’s plea of guilty to the lesser included offense of the charge in Count

One, that is of conspiracy to distribute a mixture and substance containing a detectable amount of

cocaine in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C); (3) adjudicate Defendant guilty of the

lesser included offense of the charge in Count One, that is of conspiracy to distribute a mixture and

substance containing a detectable amount of cocaine in violation of 21 U.S.C. §§ 846 and

841(b)(1)(C); (4) defer a decision on whether to accept the plea agreement until sentencing; and (5)

find Defendant shall remain in custody until sentencing in this matter (Court File No. 69). Neither

party filed a timely objection to the report and recommendation. After reviewing the record, the

Court agrees with the magistrate judge’s report and recommendation. Accordingly, the Court

ACCEPTS and ADOPTS the magistrate judge’s report and recommendation (Court File No. 69)

pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment



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            is GRANTED;

      (2)   Defendant’s plea of guilty to the lesser included offense of the charge in Count One,

            that is of conspiracy to distribute a mixture and substance containing a detectable

            amount of cocaine in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C) is

            ACCEPTED;

      (3)   Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

            in Count One, that is of conspiracy to distribute a mixture and substance containing

            a detectable amount of cocaine in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C);

      (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

            and

      (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

            scheduled to take place on Thursday, April 8, 2010 at 2:00 p.m. before the

            Honorable Curtis L. Collier.

      SO ORDERED.

      ENTER:


                                           /s/
                                           CURTIS L. COLLIER
                                           CHIEF UNITED STATES DISTRICT JUDGE




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